                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                   3:05CR294

                                              )
UNITED STATES OF AMERICA,                     )
                     Plaintiff,               )
     v.                                       )                 ORDER
                                              )
DUNCAN CARSON                     (7)         )
                            Defendant.        )
                                              )



     THIS MATTER IS BEFORE THE COURT on its own motion. By Order filed on
November 29, 2006, defendant Duncan Carson self-reported for his psychiatric evaluation.

       IT IS THEREFORE ORDERED that defendant is allowed to self-release pursuant to
the bond entered on November 2, 2006 [doc. 92].



                                             Signed: March 8, 2007




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